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 7
 8                          UNITED STATES DISTRICT COURT

 9                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
     STEVEN NEWMAN,                                  Case No.
11
12                             Plaintiff,            COMPLAINT AND DEMAND FOR A
                                                     JURY TRIAL
13   v.
                                                     1.   Disability Discrimination in Violation
14   GOOGLE LLC; and DOES 1-20,                           of the ADA (42 U.S.C. § 12112(a)):
15                                                        Disparate Treatment and Disparate
                               Defendants.                Impact;
16                                                   2.   Disability Discrimination in Violation of
                                                          the FEHA (Cal. Gov’t Code § 12940(a)):
17                                                        Disparate Treatment and Disparate
18                                                        Impact.
                                                     3.   Failure to Accommodate a Disability
19                                                        in Violation of the ADA (42 U.S.C. §
                                                          12112(b)(5)(A));
20                                                   4.   Failure to Accommodate a Disability in
21                                                        Violation of the FEHA (Cal. Gov’t Code
                                                          § 12940 (m));
22                                                   5.   Failure to Engage in the Interactive
                                                          Disability Accommodation Process in
23                                                        Violation of the ADA (42 U.S.C. §
24                                                        12112(b)(5)(A));
                                                     6.   Failure to Engage in the Interactive
25                                                        Disability Accommodation Process in
                                                          Violation of the FEHA (Cal. Gov’t Code
26                                                        § 12940 (f));
27                                                   7.   Retaliation in Violation of the ADA (42
                                                          U.S.C. § 12203(a));
28                                                   8.   Retaliation in Violation of the FEHA

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 1                                                              (Cal. Gov’t Code § 12940 (h));
                                                          9.    Failure to Prevent Discrimination and
 2                                                              Retaliation in Violation of the FEHA
                                                                (Cal. Gov’t Code § 12940(k));
 3
                                                          10.   Wrongful Termination in Violation of
 4                                                              California Public Policy;
                                                          11.   Wrongful Termination in Violation of
 5                                                              Georgia Public Policy;
                                                          12.   Intentional Infliction of Emotional
 6
                                                                Distress Under California Law;
 7                                                        13.   Intentional Infliction of Emotional
                                                                Distress Under Georgia Law;
 8                                                        14.   Negligent Infliction of Emotional
                                                                Distress Under California Law;
 9
                                                          15.   Negligent Infliction of Emotional
10                                                              Distress Under Georgia Law; and
                                                          16.   Unlawful, Unfair, and Fraudulent
11                                                              Business Practices in Violation of Cal.
                                                                Bus. & Prof. Code §§ 17200 and 17203,
12
                                                                et seq.
13
14
             Plaintiff STEVEN NEWMAN (“Newman”) complains and alleges as follows:
15
     I.      INTRODUCTION
16
             1.     This is an action brought by Newman against Defendant GOOGLE LLC
17
     (“Google”) for various employment law violations pertaining to Newman’s employment at
18
     Google.
19           2.     Newman was a highly dedicated employee of Google, a company located and
20   headquartered in Santa Clara County, California, since 2018.
21           3.     In July 2020, Newman was diagnosed with bipolar disorder for the first time in

22   his life, and was then placed on a short term disability leave.
             4.     As a result of his disorder, in October 2020, Newman sent a few unusual emails
23
     to his colleagues at Google. Although none of his emails were malicious or genuinely
24
     threatening, on October 30, 2020, Google’s Human Resources personnel informed Newman that
25
     once his short-term disability leave was over, he would be placed on an administrative leave
26
     because of his emails. Newman’s administrative leave was periodically extended by Google
27   throughout the rest of 2020 and early 2021.
28

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 1            5.    On April 9, 2021, Newman was notified that he was being terminated without

 2   severance for allegedly violating Google’s Code of Conduct. At no time did Google engage in
     the process of finding appropriate accommodations for Newman’s condition, despite being on
 3
     notice since July 2020. Newman’s employment with google was terminated effective April 13,
 4
     2021.
 5
              6.    Newman, therefore, seeks to recover actual damages, restitution, general
 6
     damages, civil penalties, statutory damages, and punitive damages he suffered as a result of the
 7   wrongful conduct he was subjected to, as well as the costs of this lawsuit, including reasonable
 8   attorneys’ fees.
 9   II.      JURISDICTION AND VENUE
10            7.    This Court has jurisdiction over this action under 28 U.S.C. §§ 13361 & 1345

11   and Title II of the Americans with Disabilities Act, 42 U.S.C. §§ 12101, et seq. (the “ADA”).
     This Court has supplemental jurisdiction over the California Government Code (“Gov’t Code”)
12
     claims, other California law claims, and claims based on Georgia law, pursuant to 28 U.S.C. §
13
     1367.
14
              8.    Venue is proper in the United States District Court, Northern District of
15
     California, pursuant to 28 U.S.C. §1391, because Google conducts business in this district, the
16   employment agreement between Newman and Google was entered into in this district and is
17   governed by the laws of this district. Furthermore, a substantial part of the events and omissions
18   giving rise to Newman’s claims occurred in this district.

19            9.    On or around February 7, 2022, Newman has filed discrimination and retaliation
     claims with both the Equal Employment Opportunity Commission (“EEOC”) and the California
20
     Department of Fair Employment and Housing (“DFEH”). Newman was issued a right to sue
21
     letter from the EEOC on February 10, 2022. That letter also serves as a right to sue for any
22
     FEHA claims with the EEOC acting on behalf of the DFEH in that regard. A copy of this right
23
     to sue is attached hereto as Exhibit 1. As such, Newman may file a Complaint against
24   Defendants for their violations of both the ADA and the FEHA.
25   III.     PARTIES
26            10.   Newman is and at all relevant times was an employee of Google, which is a
27   company located in Santa Clara County, California. Newman was hired in 2018 as a Customer

28   Engineer–gSuite Specialist, and by 2020 he was promoted to a gSuite Technical Strategy Lead.


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 1   At all times relevant to this Complaint, Newman was an employee of Google within the

 2   meaning of the California Fair Employment and Housing Discrimination Act, Gov’t Code §§
     12940 (“FEHA”), and the ADA.
 3
            11.    Google is a global technology company headquartered in Santa Clara County,
 4
     California. For all relevant times, Google was an employer of Newman within the meaning of
 5
     the FEHA and ADA.
 6
            12.    Does 1-20 are defendants whose names are unknown and who shall be named
 7   once their identities are ascertained. Upon information and belief, Google and Defendants Does
 8   1-20 (collectively, “Defendants”) are agents of the others, and they are all managed and
 9   controlled by the same individuals and had and/or have the same policies and practices with
10   regard to the employment of Newman. The true names and capacities, whether individual,

11   corporate, associate or otherwise, and the true involvement of defendants sued herein as
     Defendants 1-20, are unknown to Newman who therefore sue said defendants by such fictitious
12
     names and will amend this Complaint to show the true names, capacities and involvement when
13
     ascertained. Newman is informed and believe and thereon allege that each of the defendants
14
     designated as a Doe is responsible in some manner for the events and happenings herein
15
     referred to, and that Newman’s injuries and damages as hereinafter set forth were proximately
16   caused by said Defendants. Newman is informed and believe and thereon allege that at all times
17   herein mentioned, each of the Defendants sued herein was the agent and/or employee of each of
18   the remaining Defendants, and each o them, was at all times acting within the purpose and

19   scope of such agency and employment.
     IV.    FACTUAL ALLEGATIONS
20
            A.     Newman Suffered a Bipolar Episode and Took Short Term Disability Leave
21
            13.    Newman was hired by Google under an employment contract that was executed
22
     by the parties on or about March 9, 2018 (the “Employment Contract”). A copy of the
23
     Employment Contact and its attachments are attached herein as Exhibit 2.
24          14.    Newman worked for Google in California, and all his managers and supervisors
25   were located in California. The great majority of the work Newman did was in California.
26          15.    The general provisions of Newman’s Employment Contract stipulated that the
27   law governing the contact, and his employment at Google, would be “California law”. [Section

28   13 of the AT-WILL EMPLOYMENT, CONFIDENTIAL INFORMATION, INVENTION


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 1   ASSIGNMENT AND ARBITRATION AGREEMENT attached to the Employment Contract,

 2   Exhibit 2 above.]
             16.       Newman worked for Google since 2018 as a Customer Engineer, gSuite
 3
     Specialist. By 2020 he was promoted to gSuite Technical Strategy Lead.
 4
             17.       Newman excelled at his job, has had very positive performance reviews, and
 5
     received accolades, and financial incentives in the from of stock and bonuses for the excellent
 6
     job he did for Google.
 7           18.       In late July of 2020, Newman suffered a bipolar episode, for the first time in his
 8   life.
 9           19.       Prior to that time, Newman had a stellar work record with Google, he was never
10   subjected to any discipline, and he never had to be discipline or counseled by his managers or

11   Human Resources for any reason whatsoever.
             20.       As a result of his medical condition and his disability, Newman sent unusual
12
     emails to other employees at Google. The unusual email Newman sent to his managers were a
13
     direct result of the manifestation of his mental disability and manic condition. The content of
14
     these messages largely regarded offers to buy gSuite for billions of dollars. This alarmed
15
     Newman’s direct supervisor, Carolina Andrade (“Andrade”), who emailed him Newman links
16   to mental health resources.
17           21.       Later that same month, Newman’s wife, Elizabeth Newman (“Elizabeth”),
18   contacted Andrade via email to inform her of Newman’s disability and that he was being treated

19   by his doctors.
             22.       Andrade connected Elizabeth with Google Human Resources (“Human
20
     Resources”) representative, Esther Yeu (“Yeu”), to discuss Newman’s healthcare benefits. Both
21
     Andrade and Human Resources were thus made aware of Newman’s medical condition and
22
     disabilities in 2020. Yeu referred Elizabeth to the company benefits provider, Sedgewick
23
     Claims Management Services, Inc. (“Sedgwick”).
24           23.       Newman was diagnosed with bipolar disorder and his doctor, Dr. Gregory Haley
25   (“Dr. Haley”), identified that he was experiencing a manic episode. Google then placed
26   Newman on disability leave, Sedgwick communicated directly with Newman’s doctors for
27   updates. Dr. Haley reported that a full recovery could be expected, and that Newman would be

28   able to return to work full time.


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 1          24.     The email messages sent by Newman in October 2020, clearly depicted he was

 2   unwell and mentally disabled, but none were malicious or genuinely threatening. One email,
     however, that Google construed as being threatening was sent by Newman to his colleague,
 3
     John McDonald (“McDonald”) who then resided in Canada. It stated that Newman was upset
 4
     with McDonald, but it does not threat any harm on McDonald.
 5
            25.     It was impossible for Newman to pose an actual threat to coworkers as the
 6
     employees at issue lived far way from Newman at the time the messages were sent. McDonald
 7   in particular lived in Canada at that time, and access to Canada was denied to all Americans
 8   given the Conid-19 pandemic restrictions in place at the time by both the U.S. and the Canadian
 9   governments. Further, Newman’s father had been monitoring Neman full-time since the manic
10   episodes began. Newman was never a risk to his colleagues at Google because he was under

11   contact supervision and was geographically isolated.
            26.     Newman later followed up with both Human Resources and his previous
12
     manager, Ben Lavalle (“Lavalle”), to apologize for the email. Newman reiterated that it was
13
     never his intention to come off as threatening.
14
            27.     Additionally, Newman sent an apology email to Yeu and asked that she forward
15
     an apology on his behalf to Newman. Yeu told Newman she did this on December 8, 2020.
16          28.     In November 2020, Newman began seeing a bipolar disorder specialist, Dr. Jeff
17   Rakofsky (“Dr. Rakofsky”). According to Dr. Rakofsky’s November 2, 2020, psychiatric
18   report, Newman was not behaving dangerously, was willing to take medication for treatment,

19   and agreed to continuous supervision from his father.
            29.     On November 16, 2020, Sedgwick informed Newman that his leave had been
20
     extended through December 14, 2020.
21
            30.     On January 11, 2021, Newman received another update from Sedgwick
22
     indicating his leave was extended through January 19, 2021.
23
            B.      Google Terminates Newman’s Employment, Failing to Accommodate his
24                  Disability

25          31.     On January 15, 2021, in anticipation of his short-term leave ending, Newman
     emailed Human Resources to notify Google that his doctor had approved his return to work on
26
     January 20, 2021, and that he was ready, able, and willing to go back to work.
27
            32.     In response, Human Resources informed Newman that Google had initiated an
28
     investigation and that he would need to respond to their questioning.

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 1          33.      On January 22, 2021, Newman willingly met with Human Resources over the

 2   phone to answer questions and participate in the internal investigation.
            34.      On March 18, 2021, New man was informed that the investigation was still
 3
     ongoing.
 4
            35.      At no time did the company ask for any additional documentation or input from
 5
     Newman or his doctors. Newman was also never contacted regarding accommodations in the
 6
     workplace or to discuss how he might return to work with or without restrictions.
 7          36.      On April 9, 2021, with no prior warning or notice, Newman was notified that he
 8   was being terminated without severance for allegedly violating Google’s Code of Conduct.
 9   Newman was terminated from Google effective April 13, 2021.
10          37.      At no time did Google engage in the process of finding appropriate

11   accommodations for Newman’s condition, despite being on notice of his disability and medical
     condition since July 2020.
12
            38.      At no time did Google accommodate Newman’s medical condition and
13
     disability, despite being on notice of his disability and medical condition since July 2020.
14
            39.      Since his termination, Newman has maintained complete stability, with no
15
     additional manic episodes. He continues to undergo regular visits with his psychologist and
16   further manages his condition with medication.
17          40.      Newman has not made any attempts to communicate with his former colleagues
18   at Google since his termination.

19          41.      Although he took significant efforts to find a new full-time job, Newman was not
     able to find one to date.
20
            42.      As a result of Defendants’ conduct, Newman suffered, and continues to suffer,
21
     severe emotional distress, pain, and suffering.
22
                                      FIRST CAUSE OF ACTION
23              Disability Discrimination in Violation of the ADA (42 U.S.C. § 12112(a)):
                               Disparate Treatment and Disparate Impact
24                              (Asserted by Newman against Defendants)
25          43.      The allegations of the preceding paragraphs are re-alleged and incorporated
26   herein by reference.

27          44.      To establish a prima facie case of employment discrimination under the ADA, a
     plaintiff must prove three elements: (1) the plaintiff is disabled within the meaning of the ADA;
28

                                   COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1   (2) the plaintiff is a qualified individual able to perform the essential functions of the job, either

 2   with or without reasonable accommodations; and (3) his employer terminated him because of
     his disability. Hashbarger v. Sierra Pacific Co. (2002) 26 Fed.Appx. 707.
 3
            45.     The ADA defines the term “disability” with respect to an individual as a physical
 4
     or mental impairment that substantially limits one or more major life activities of such an
 5
     individual; a record of such an impairment or being regarded as having such an impairment. 42
 6
     U.S.C. § 12102.
 7          46.     In 2020 Newman was diagnosed with bipolar disorder. At the time of his
 8   diagnosis, Newman was a Customer Engineer–gSuite Technical Strategy Lead.
 9          47.     Google was made aware of Newman’s medical condition and disabilities in July
10   2020 and placed him on a short-term disability leave. Newman’s doctor reported that a full

11   recovery could be expected, and that Newman would be able to return to work full-time.
            48.     In November 2020, Newman began seeing a bipolar disorder specialist, Dr.
12
     Rakofsky who reported that Newman was not behaving dangerously, was willing to take
13
     medication for treatment, and agreed to continuous supervision from his father.
14
            49.     On April 9, 2021, Newman was informed that his employment with Google had
15
     been terminated without severance for allegedly violating Google’s Code of Conduct.
16          50.     Google terminated Newman’s employment because he had bipolar disorder.
17          51.     As a direct and proximate result of Defendants’ wrongful conduct, Newman has
18   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of

19   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
     indignity, personal embarrassment, and damage to his professional reputation.
20
            52.     In doing the acts herein alleged, Defendants acted with oppression, fraud or
21
     malice, and in reckless or in willful disregard of Newman’s rights, and Newman is therefore
22
     entitled to punitive damages in an amount according to proof at the time of trial.
23
                                   SECOND CAUSE OF ACTION
24          Disability Discrimination in Violation of the FEHA (Gov’t Code § 12940(a)):
                             Disparate Treatment and Disparate Impact
25                                (Asserted against All Defendants)
26          53.     The allegations of the preceding paragraphs are re-alleged and incorporated

27   herein by reference.

28

                                    COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1           54.       Newman may bring claims against Google based on California law because he

 2   worked in California and because the Employment Contract stipulated that the parties’
     relationship and the contract be governed by California law.
 3
             55.       The FEHA prohibits discrimination on the basis of disability. Under the three-
 4
     stage McDonnell-Douglas test an employee may establish a prima facie case of discrimination
 5
     by showing that actions taken by the employer were based on a prohibited discriminatory
 6
     criterion from which one can infer. McDonnell Douglas Corp. v. Green (1973) 411 U.S. 972,
 7   802. However, if such actions remain unexplained, the appropriate standard is that the employee
 8   must show that it is more likely than not that the actions were based on discrimination. Guz v.
 9   Bechtel National, Inc. (2000) 24 Cal.4th 317, 355-356.
10           56.       For an employee to prevail on a disability discrimination claim in violation of

11   FEHA, the following elements must be met: (1) the plaintiff suffered from a disability; (2) the
     plaintiff was qualified to do his job; and (3) the plaintiff was subjected to adverse employment
12
     action because of his disability. Govt Cod §§ 12940 (a, h, m, n); Finegan v. County of Los
13
     Angeles (2001) 91 Cal.App.4th 1, 7.
14
             57.       Newman suffered from bipolar disorder, which is explicitly listed as a qualifying
15
     disability under FEHA. Cal. Govt Code § 12926.1(c). Newman’s wife put Google on notice of
16   his medical condition in July of 2020. Additionally, Google was on notice of his disability
17   because he took short term disability leave for treatment of his bipolar disorder.
18           58.       Newman was qualified to do his job, demonstrated by his doctor’s approval of

19   his return to work.
             59.       Newman was subjected to adverse employment action when he was placed on
20
     administrative leave on January 15, 2021, and when he was terminated on April 13, 2021. These
21
     actions were taken against him because of his bipolar disorder and for taking a leave to care for
22
     his disability.
23
             60.       Newman may bring claims against Google based on California law because he
24   worked in California and because the Employment Contract stipulated that the parties’
25   relationship and the contract be governed by California law.
26           61.       As a direct and proximate result of Defendants’ wrongful conduct, Newman has
27   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of

28

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 1   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,

 2   indignity, personal embarrassment, and damage to his professional reputation.
            62.     In doing the acts herein alleged, Defendants acted with oppression, fraud or
 3
     malice, and in reckless or in willful disregard of Newman’s rights, and Newman is therefore
 4
     entitled to punitive damages in an amount according to proof at the time of trial.
 5
                                 THIRD CAUSE OF ACTION
 6          Failure to Accommodate in Violation of the ADA (42 U.S.C. § 12112(b)(5)(A))
                               (Asserted against All Defendants)
 7
            63.     The allegations of the preceding paragraphs are re-alleged and incorporated
 8
     herein by reference.
 9          64.     An employer violates the ADA for failure to accommodate, if: (1) the employee
10   was a qualified individual with a disability; (2) the employer was aware of the disability; and (3)
11   the employer failed to reasonably accommodate the disability. Smith v. Clark City Sch. Dist.,
12   (9th Cir. 2013) 727 F.3d 950, 955. The ADA defines a qualified individual as one who can

13   perform the essential functions of his job with or without reasonable accommodation. (Id.)
            65.     “Once an employer becomes aware of the need for accommodation, that
14
     employer has a mandatory obligation under the ADA to engage in an interactive process with
15
     the employee to identify and implement reasonable accommodation that will enable the
16
     employee to perform her duties.” Humphrey v. Mem’l Hosp. Ass’n, (9th Cir. 2001), 239 F.3d
17
     1128, 1138; Dunlap v. Liberty Natural Products, Inc. (9th Cir. 2017) 878 F.3d 794, 799.
18          66.     Newman suffered from bipolar disorder in 2020, while he was employed by
19   Google as a Customer Engineer–gSuite Technical Strategy Lead. Newman was qualified to do
20   his job, demonstrated by his doctor’s approval of his return to work.
21          67.     Newman’s wife put Google on notice of his medication condition in July of

22   2020. Additionally, Google was on notice of Newman’s disability because he took Short Term
     Disability Leave for treatment of his bipolar disorder.
23
            68.     Google never engaged with Newman in the process of determining any
24
     alternative accommodations to enable Newman to perform his duties, thereby failing to
25
     accommodate Newman for his medical condition and disability.
26          69.     As a direct and proximate result of Defendants’ wrongful conduct, Newman has
27   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
28

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 1   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,

 2   indignity, personal embarrassment, and damage to his professional reputation.
            70.     In doing the acts herein alleged, Defendants acted with oppression, fraud or
 3
     malice, and in reckless or in willful disregard of Newman’s rights, and Newman is therefore
 4
     entitled to punitive damages in an amount according to proof at the time of trial.
 5
                                   FOURTH CAUSE OF ACTION
 6                  Failure to Accommodate a Disability in Violation of the FEHA
                                      (Gov’t Code § 12940 (m))
 7                          (Asserted by Newman against All Defendants)
 8          71.     The allegations of the preceding paragraphs are re-alleged and incorporated
 9   herein by reference.
10          72.     Newman may bring claims against Google based on California law because he

11   worked in California and because the Employment Contract stipulated that the parties’
     relationship and the contract be governed by California law.
12
            73.     An employer violates FEHA if: (1) the employee suffered a disability; (2) the
13
     employee could perform the essential functions of the job with a reasonable accommodation;
14
     and (3) the employer failed to reasonably accommodate the employee’s disability. Govt Code
15   §§ 12490 (a, h, m, n) Nealy v. City of Santa Monic (2015) 234 Cal.App.4th 359, 373.
16          74.     Newman suffered from bipolar disorder in 2020, while he was employed by
17   Google as a Customer Engineer – gSuite Technical Strategy Lead. Newman was qualified to do
18   his job, demonstrated by his doctor’s approval of his return to work.

19          75.     Newman’s wife put Google on notice of his medication condition in July of
     2020. Additionally, Google was on notice of Newman’s disability because he took short term
20
     disability leave for treatment of his bipolar disorder.
21
            76.     Google never engaged with Newman in the process of determining any
22
     alternative accommodations to enable Newman to perform his duties, thereby failing to
23
     accommodate Newman for his medical condition and disability.
24          77.     As a direct and proximate result of Defendants’ wrongful conduct, Newman has
25   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
26   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,

27   indignity, personal embarrassment, and damage to his professional reputation.

28

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 1            78.   In doing the acts herein alleged, Defendants acted with oppression, fraud or

 2   malice, and in reckless or in willful disregard of Newman’s rights, and Newman is therefore
     entitled to punitive damages in an amount according to proof at the time of trial.
 3
                                     FIFTH CAUSE OF ACTION
 4              Failure to Engage in the Interactive Disability Accommodation Process
 5                           in Violation of the ADA (42 U.S.C. § 12133)
                            (Asserted by Newman Against All Defendants)
 6
              79.   The allegations of the preceding paragraphs are re-alleged and incorporated
 7   herein by reference.
 8            80.   “Once an employer becomes aware of the need for accommodation, that
 9   employer has a mandatory obligation under the ADA to engage in an interactive process with
10   the employee to identify and implement reasonable accommodation that will enable the

11   employee to perform her duties.” Humphrey v. Mem’l Hosp. Ass’n, (9th Cir. 2001), 239 F.3d
     1128, 1138; Dunlap v. Liberty Natural Products, Inc. (9th Cir. 2017) 878 F.3d 794, 799.
12
              81.   Newman suffered from bipolar disorder in 2020, while he was employed by
13
     Google as a Customer Engineer–gSuite Technical Strategy Lead. Newman was qualified to do
14
     his job, demonstrated by his doctor’s approval of his return to work.
15            82.   Newman’s wife put Google on notice of his medication condition in July of
16   2020. Additionally, Google was on notice of Newman’s disability because he took Short Term
17   Disability Leave for treatment of his bipolar disorder.
18            83.   Google never engaged with Newman in the process of determining any

19   alternative accommodations to enable Newman to perform his duties, thereby failing to engage
     in the interactive process of finding an appropriate accommodation.
20
              84.   As a direct and proximate result of Defendants’ wrongful conduct, Newman has
21
     suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
22
     income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
23
     indignity, personal embarrassment, and damage to his professional reputation.
24            85.   In doing the acts herein alleged, Defendants acted with oppression, fraud or
25   malice, and in reckless or in willful disregard of Newman’s rights, and Newman is therefore
26   entitled to punitive damages in an amount according to proof at the time of trial.

27   //
     //
28

                                   COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1                                   SIXTH CAUSE OF ACTION
               Failure to Engage in the Interactive Disability Accommodation Process
 2                        in Violation of the FEHA (Gov’t Code § 12940 (f))
                            (Asserted by Newman Against All Defendants)
 3
            86.     The allegations of the preceding paragraphs are re-alleged and incorporated
 4
     herein by reference.
 5
            87.     Newman may bring claims against Google based on California law because he
 6
     worked in California and because the Employment Contract stipulated that the parties’
 7   relationship and the contract be governed by California law.
 8          88.     At all times relevant to this Complaint, the FEHA and its implementing
 9   regulations were in full force and effect and binding on the Google.
10          89.     Pursuant to Gov’t Code § 12940(n) it is unlawful for an employer to fail to

11   engage in the interactive process after a reasonable accommodation is requested by an employee
     or after it becomes apparent to the employer than an employee’s physical disability is impeding
12
     the employee’s ability to carry out the essential functions of his job.
13
            90.     Pursuant to Gov’t Code §§ 12926 and 12926.1 Newman has physical, cognitive,
14
     and mental disabilities, and/or was perceived as or treated as having physical, cognitive, and
15   mental disabilities by Google.
16          91.     Google never engaged with Newman in the process of determining any
17   alternative accommodations to enable Newman to perform his duties, thereby failing to engage
18   in the interactive process of finding an appropriate accommodation.

19          92.     As a direct and proximate result of Defendants’ wrongful conduct, Newman has
     suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
20
     income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
21
     indignity, personal embarrassment, and damage to his professional reputation.
22
            93.     In doing the acts herein alleged, Defendants acted with oppression, fraud or
23
     malice, and in reckless or in willful disregard of Newman’s rights, and Newman is therefore
24   entitled to punitive damages in an amount according to proof at the time of trial.
25                                  SEVENTH CAUSE OF ACTION
                      Retaliation in Violation of the ADA (42 U.S.C. § 12203(a))
26                          (Asserted by Newman Against All Defendants)
27          94.     The allegations of the preceding paragraphs are re-alleged and incorporated
28   herein by reference.

                                   COMPLAINT AND DEMAND FOR A JURY TRIAL
                                                    - 13 -
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 1           95.       Pursuant to 42 U.S.C § 12203(b) it is unlawful for an employer to retaliate

 2   against any individual because such individual has opposed any act or practice made unlawful
     by this statue.
 3
             96.       Newman placed Google on his medical condition and disability and sought
 4
     accommodations for them.
 5
             97.       In response to Newman’s requests, Google failed to accommodate Newman, and
 6
     instead placed on an unjustified administrative leave, and then terminated him from his
 7   employment at Google.
 8           98.       As a direct and proximate result of Defendants’ wrongful conduct, Newman has
 9   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
10   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,

11   indignity, personal embarrassment, and damage to his professional reputation.
             99.       In doing the acts herein alleged, Defendants acted with oppression, fraud or
12
     malice, and in reckless or in willful disregard of Newman’s rights and Newman is therefore
13
     entitled to punitive damages in an amount according to proof at the time of trial.
14
                                      EIGHTH CAUSE OF ACTION
15                       Retaliation in Violation of the FEHA (Gov’t Code § 12940 (h))
                              (Asserted by Newman Against All Defendants)
16
             100.      The allegations of the preceding paragraphs are re-alleged and incorporated
17
     herein by reference.
18           101.      Newman may bring claims against Google based on California law because he
19   worked in California and because the Employment Contract stipulated that the parties’
20   relationship and the contract be governed by California law.
21           102.      At all times relevant to this Complaint, the FEHA and its implementing

22   regulations were in full force and effect and binding on Google.
             103.      Pursuant to Gov’t Code § 12940(h), it is unlawful for an employer to discharge
23
     or demote an employee, or to subject them to any adverse employment action in retaliation for
24
     making a complaint about unlawful activity.
25
             104.      In engaging in the conduct described above, Google did not engage in the
26   interactive accommodation process with Newman and put him on administrative leave and
27   subsequently terminated his employment, based on his disability.
28

                                    COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1            105.   As a direct and proximate result of Defendants’ wrongful conduct, Newman has

 2   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
     income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
 3
     indignity, personal embarrassment, and damage to his professional reputation.
 4
              106.   In doing the acts herein alleged, Defendants acted with oppression, fraud, or
 5
     malice, and in reckless or in willful disregard of Newman’s rights and Newman is therefore
 6
     entitled to punitive damages in an amount according to proof at the time of trial.
 7                                   NINTH CAUSE OF ACTION
 8            Failure to Prevent Discrimination and Retaliation in Violation of the FEHA
                                       (Gov’t Code § 12940(k))
 9                          (Asserted by Newman Against All Defendants)
10            107.   The allegations of the preceding paragraphs are re-alleged and incorporated

11   herein by reference.
              108.   Newman may bring claims against Google based on California law because he
12
     worked in California and because the Employment Contract stipulated that the parties’
13
     relationship and the contract be governed by California law.
14
              109.   At all times relevant to this Complaint, the FEHA and its implementing
15   regulations were in full force and effect and binding on Google.
16            110.   Pursuant to Gov’t Code § 12940(k), it is unlawful for an employer to fail to
17   prevent harassment, discrimination or retaliation form existing in the workplace.
18            111.   In engaging in the conduct described above, Google failed to engage in any

19   reasonable steps to prevent discrimination or retaliation against Newman.
              112.   As a direct and proximate result of Defendants’ wrongful conduct, Newman has
20
     suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
21
     income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
22
     indignity, personal embarrassment, and damage to his professional reputation.
23
              113.   In doing the acts herein alleged, Defendants acted with oppression, fraud or
24   malice, and in reckless or in willful disregard of Newman’s rights and Newman is therefore
25   entitled to punitive damages in an amount according to proof at the time of trial.
26   //

27   //
     //
28

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 1                                TENTH CAUSE OF ACTION
                    Wrongful Termination in Violation of California Public Policy
 2                        (Asserted by Newman Against All Defendants)
 3          114.    The allegations of the preceding paragraphs are re-alleged and incorporated
 4   herein by reference.

 5          115.    Newman may bring claims against Google based on California law because he
     worked in California and because the Employment Contract stipulated that the parties’
 6
     relationship and the contract be governed by California law.
 7
            116.    An employer commits tortious termination in violation of public policy when
 8
     there is an applicable public policy protecting an employee with a certain status and the
 9   employer terminates the employee because of his or her protected status. Tameny v. Atlantic
10   Richfield Co. (1980) 27 Cal.3d 167. A duty is implied by law on the part of the employer to
11   conduct its affairs in compliance with public policy, expressed judicially or by statute.
12          117.    The public police expressed in the ADA and FEHA protects employees from

13   discrimination based upon their disability. The facts set forth demonstrate that Google
     terminated Newman’s employment and took other adverse employment actions against him
14
     because he suffered from a bipolar disorder, and took a short term leave to treat his disability.
15
            118.    By its conduct toward Newman, Google violated California public policy, and
16
     therefore engaged in tortious conduct against Newman under California law.
17
            119.    Google’s actions, as described above, directly, and proximately have caused, and
18   continue to cause, Newman to suffer losses of income and professional opportunities and have
19   caused severe emotional distress, anguish, pain and suffering, humiliation, indignity, personal
20   embarrassment, and damage to his professional reputation.
21          120.    In doing the acts here in, Google acted with oppression, fraud or malice, and in

22   conscious disregard of Newman’s rights, therefore Newman is entitled to punitive damages in
     an amount according to proof at the time of trial.
23
                                ELEVENTH CAUSE OF ACTION
24                     Wrongful Discharge in Violation of Georgia Public Policy
25                         (Asserted by Newman Against All Defendants)
            121.    The allegations of the preceding paragraphs are re-alleged and incorporated
26
     herein by reference.
27
            122.    An employer many do not terminate an employee on account of his or her
28
     disability as protected by ADA.

                                   COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1           123.    The public policy expressed in the ADA protects employees from discrimination

 2   based upon their disability. The facts set forth demonstrate that Google terminated Newman’s
     employment and took other adverse employment actions against him because he suffered from a
 3
     bipolar disorder, and took a short term leave to treat his disability.
 4
             124.    By its conduct toward Newman, Google violated Georgia public policy, and
 5
     therefore engaged in tortious conduct against Newman under Georgia law.
 6
             125.    Google’s actions, as described above, directly, and proximately have caused, and
 7   continue to cause, Newman to suffer losses of income and professional opportunities and have
 8   caused severe emotional distress, anguish, pain and suffering, humiliation, indignity, personal
 9   embarrassment, and damage to his professional reputation.
10           126.    In doing the acts here in, Google acted with oppression, fraud, or malice, and in

11   conscious disregard of Newman’s rights, therefore Newman is entitled to punitive damages in
     an amount according to proof at the time of trial.
12
                                      TWELTH CAUSE OF ACTION
13                  Intentional Infliction of Emotional Distress Under California Law
14                           (Asserted by Newman Against All Defendants)
             127.    The allegations of the preceding paragraphs are re-alleged and incorporated
15
     herein by reference.
16
             128.    Newman may bring claims against Google based on California law because he
17
     worked in California and because the Employment Contract stipulated that the parties’
18   relationship and the contract be governed by California law.
19           129.    Defendants were aware that Newman suffered from medical condition and a
20   disability.
21           130.    Defendants acted with reckless disregard of the probability that their acts would

22   violate Newman’s rights and cause Newman severe emotional distress.
             131.    Defendants had a duty to refrain from causing damages to Newman.
23
             132.    Defendants intentionally abused their power as an employer over Newman by
24
     discriminating, and retaliating against Newman in a manner that caused humiliation and
25
     distress.
26           133.    As a direct and proximate result of Defendants’ wrongful conduct, Neman has
27   suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
28

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 1   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,

 2   indignity, personal embarrassment, and damage to his professional reputation.
             134.   In doing the acts herein alleged, Defendants acted with oppression, fraud, malice,
 3
     and in reckless or in willful disregard of Newman’s rights and Newman is therefore entitled to
 4
     punitive damages in an amount according to proof at the time of trial.
 5
                                 THIRTEENTH CAUSE OF ACTION
 6                  Intentional Infliction of Emotional Distress Under Georgia Law
                            (Asserted by Newman Against All Defendants)
 7
             135.   The allegations of the preceding paragraphs are re-alleged and incorporated
 8
     herein by reference.
 9           136.   Defendants were aware that Newman suffered from a medical condition and a
10   disability.
11           137.   Defendants acted with reckless disregard of the probability that their acts would
12   violate Newman’s rights and cause Newman severe emotional distress.

13           138.   Defendants had a duty to refrain from causing damages to Newman.
             139.   Defendants intentionally abused their power as an employer over Newman by
14
     discriminating and retaliating against Newman in a manner that caused humiliation and distress.
15
             140.   As a direct and proximate result of Defendants’ wrongful conduct, Neman has
16
     suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
17
     income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
18   indignity, personal embarrassment, and damage to his professional reputation.
19           141.   In doing the acts herein alleged, Defendants acted with oppression, fraud, malice,
20   and in reckless or in willful disregard of Newman’s rights and Newman is therefore entitled to
21   punitive damages in an amount according to proof at the time of trial.

22                               FOURTEENTH CAUSE OF ACTION
                    Negligent Infliction of Emotional Distress Under California Law
23                          (Asserted by Newman Against All Defendants)
24           142.   The allegations of the preceding paragraphs are re-alleged and incorporated
     herein by reference.
25
             143.   Newman may bring claims against Google based on California law because he
26
     worked in California and because the Employment Contract stipulated that the parties’
27
     relationship and the contract be governed by California law.
28

                                  COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1          144.    Defendants owed Newman a duty to operate Newman’s place of employment in

 2   a manner that was free from unlawful discrimination, and retaliation, and to hire, train,
     supervise and discipline its employees to fulfill that duty.
 3
            145.    Defendants had a duty to refrain from causing damages to Newman.
 4
            146.    Defendants negligently violated the above duties by discriminating against,
 5
     retaliating against Newman and by permitting Newman to be retaliated and discriminated
 6
     against as set forth above.
 7          147.    Defendants also had a duty to exercise due care toward Newman and to refrain
 8   from carelessly, negligently, and arbitrarily inflicting emotional distress upon him.
 9          148.    Defendants breached the aforesaid duties by interfering with Newman’s work
10   environment, by failing to comply with all applicable laws governing Newman’s rights,

11   including his rights to work in an environment free of discrimination and retaliation.
            149.    Defendants knew, or should have known, that its failure to exercise due care with
12
     regard to the aforementioned conduct would cause Newman severe emotional distress.
13
            150.    As a direct and proximate result of Defendants’ wrongful conduct, Newman has
14
     suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
15
     income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
16   indignity, personal embarrassment, and damage to his professional reputation.
17                               FIFTEENTH CAUSE OF ACTION
                    Negligent Infliction of Emotional Distress Under Georgia Law
18                         (Asserted by Newman Against All Defendants)
19          151.    The allegations of the preceding paragraphs are re-alleged and incorporated
20   herein by reference.
21          152.    Defendants owed Newman a duty to operate Newman’s place of employment in

22   a manner that was free from unlawful discrimination, and retaliation, and to hire, train,
     supervise and discipline its employees to fulfill that duty.
23
            153.    Defendants had a duty to refrain from causing damages to Newman.
24
            154.    Defendants negligently violated the above duties by discriminating against,
25
     retaliating against Newman and by permitting Newman to be retaliated and discriminated
26   against as set forth above.
27          155.    Defendants also had a duty to exercise due care toward Newman and to refrain
28   from carelessly, negligently, and arbitrarily inflicting emotional distress upon him.

                                   COMPLAINT AND DEMAND FOR A JURY TRIAL
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 1          156.    Defendants breached the aforesaid duties by interfering with Newman’s work

 2   environment, by failing to comply with all applicable laws governing Newman’s rights,
     including his rights to work in an environment free of discrimination and retaliation.
 3
            157.    Defendants knew, or should have known, that its failure to exercise due care with
 4
     regard to the aforementioned conduct would cause Newman severe emotional distress.
 5
            158.    As a direct and proximate result of Defendants’ wrongful conduct, Newman has
 6
     suffered damages in an amount to be proven at trial, including, but not limited to, a loss of
 7   income and benefits, severe emotional distress, anguish, pain and suffering, humiliation,
 8   indignity, personal embarrassment, and damage to his professional reputation.
 9                             SIXTEENTH CAUSE OF ACTION
      Unlawful, Unfair, and Fraudulent Business Practices in Violation of Bus. & Prof. Code
10                                 §§ 17200 and 17203, et seq.
11                        (Asserted by Newman Against All Defendants)
            159.    The allegations of the preceding paragraphs are re-alleged and incorporated
12
     herein by reference.
13
            160.    Newman may bring claims against Google based on California law because he
14
     worked in California and because the Employment Contract stipulated that the parties’
15   relationship and the contract be governed by California law.
16          161.    California Business and Professions Code (“Bus. & Prof. Code”) § 17200, et seq.
17   prohibits unfair competition in the form of any unlawful, unfair, or fraudulent business act or
18   practice.

19          162.    Bus. & Prof. Code § 17201 provides: “Notwithstanding Section 2289 of the Civil
     Code, specific or preventative relief may be granted to enforce a penalty, forfeiture, or penal
20
     law in case of unfair competition.”
21
            163.    Bus. & Prof Code § 17203 provides that the court may restore to any person in
22
     interest any money or property which may have been acquired by means of such unfair
23
     competition.
24          164.    Bus. & Prof. Code § 17204 allows “any person who has suffered injury in fact
25   and has lost money or property as a result of such unfair competition” to pursue a civil action
26   for violation of the Unfair Business Practices Act.

27          165.    Beginning at an exact date unknown to Newman, but at least since 4 years prior
     to filing this suit, Defendants have committed acts of unfair competition as defined by the Bus.
28

                                   COMPLAINT AND DEMAND FOR A JURY TRIAL
                                                   - 20 -
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 1   & Prof. Code by engaging in the unlawful, unfair, and fraudulent acts and practices described

 2   herein, violating statutes including but not limited to the following:
                    a.     Violations of the FEHA as described above.
 3
                    b.     Violations of the ADA as described above.
 4
                    c.     Violations of California law as described above.
 5
            166.    The violation of the above laws and regulations, and of fundamental California
 6
     public policy protecting workers and lawfully abiding employers, serve s unlawful predicate
 7   acts and practices for purposes of the Bus. & Prof. Code.
 8          167.    The acts and practices described above have allowed Defendants to gain an
 9   unfair competitive advantage over law-abiding employers and competitors.
10          168.    Accordingly, the acts and practices described above constitute unfair, unlawful,

11   and fraudulent business practices within the meaning of the Bus. & Prof. Code.
            169.    As a direct and proximate result of the acts described herein, Newman has been
12
     denied compensation in amount according to proof at trial.
13
            170.    Newman is thereby entitled to restitution pursuant to Bus. & Prof. Code § 17203
14
     for all wages and other compensation unlawfully withheld from Newman during the 4-year
15
     period prior to the filing of this Complaint.
16                                            JURY DEMAND
17          171.    Newman hereby demands a trial by jury in this action.
18                                        PRAYER FOR RELIEF

19          Newman prays for relief, as follows:
            1.      For loss of past wages, earnings, salary, bonuses, stock and other employment
20
     benefits, according to proof;
21
            2.      For loss of future wages, earnings, bonuses, stock and other future benefits of
22
     employment, according to proof;
23
            3.      For additional economic loss and costs incurred by Newman, according to proof;
24          4.      For non-economic losses, including general damages for pain, suffering emotion
25   and mental distress, according to proof;
26          5.      For consequential damages, including the costs of locating and securing
27   substitute employment;

28          6.      For punitive damages, according to proof;


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                                                     - 21 -
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 1         7.     For interest and prejudgment interest;

 2         8.     For costs of the suit incurred herein;
           9.     For attorneys’ fees and costs according to proof; and
 3
           10.    For such other and further relief as this Court deems just and proper.
 4
 5   Dated: May 11, 2022                          PERETZ & ASSOCIATES
 6
 7
                                                  By: _________________________
 8                                                       Yosef Peretz
                                                  Attorneys for Plaintiff STEVEN NEWMAN
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                     EXHIBIT 1
                           Case 5:22-cv-02799-NC Document 1 Filed 05/11/22 Page 24 of 35
 EEOC Form 161-B (11/09)               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Stephen Newman                                                          From:   San Jose Local Office
        c/o Peretz & Associates                                                         96 N Third St ,Suite 250; San Jose, CA 95112
        22 Battery Street, Suite 200
        San Francisco, CA 94111



 EEOC Charge No.                                       EEOC Representative                                               Telephone No.
 556-2022-00376                                        Cryselda Lott,                                                    (408) 889-1950
                                                       Investigator
                                                                                         (See also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)
                                                                                                                                completed within 180
        days from the filing date.
        The EEOC is terminating its processing of this charge.




If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                   On behalf of the Commission



 Enclosures(s)                                   Rosa M. Salazar                                                      (Date Issued)
                                                 Director

 cc:     Amy J Lambert                                                       Yosef Peretz
         Associate General Counsel                                           Peretz & Associates
         Google                                                              22 Battery Street, Suite 200
         1600 AMPHITHEATRE PKWY                                              San Francisco, CA 94111
         MOUNTAIN VIEW, CA 94043
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Enclosure with EEOC
Form 161-B (11/09)

                                         INFORMATION RELATED TO FILING SUIT
                                        UNDER THE LAWS ENFORCED BY THE EEOC
                              (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)

PRIVATE SUIT RIGHTS                --   Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA), the
                                        Genetic Information Nondiscrimination Act (GINA), or the Age Discrimination in
                                        Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within 90 days of
the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-day period is over, your right
to sue based on the charge referred to in this Notice will be lost. If you intend to consult an attorney, you should do so p romptly.
Give your attorney a copy of this Notice, and its envelope, and tell him or her the date you rec eived it. Furthermore, in order to
avoid any question that you did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this
Notice was mailed to you (as indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate State court
is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short statement of the facts of you r case
which shows that you are entitled to relief. Your suit may include any matter alleged in the c harge or, to the extent permitted
by court decisions, matters like or related to the matters alleged in the charge. Generally, suits are brought in the State where
the alleged unlawful practice occurred, but in some cases can be brought where relevant emp loyment records are kept, where
the employment would have been, or where the respondent has its main office. If you have simple questions, you usually can
get answers from the office of the clerk of the court where you are bringing suit, but do not expect that office to write your
complaint or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back pay du e
for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For example, if you were
underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit before 7/1/10 not 12/1/10 -- in order
to recover unpaid wages due for July 2008. This time limit for filing an EPA suit is separate from the 90-day filing period under
Title VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under Title VII, the ADA, GINA
or the ADEA, in addition to suing on the EPA claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year
EPA back pay recovery period.

ATTORNEY REPRESENTATION                      --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction in your case
may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be made to the U.S. District Court
in the form and manner it requires (you should be prepared to explain in detail your efforts to retain an attorney). Requests should
be made well before the end of the 90-day period mentioned above, because such requests do not relieve you of the requirement to
bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any questions
about your legal rights, including advice on which U.S. District Court can hear your case. If you need to inspect or obtain a copy of
information in EEOC's file on the charge, please request it promptly in writing and provide your charge number (as shown on your
Notice). While EEOC destroys charge files after a certain time, all charge files are kept for at least 6 months after our last action on
the case. Therefore, if you file suit and want to review the charge file, please make your review request within 6 months of this
Notice. (Before filing suit, any request should be made within the next 90 days.)

         IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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                     EXHIBIT 2
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